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UNITED STATES DISTRICT COURT Mi
SOUTHERN DISTRICT OF NEW YORK RSFD

 

UNITED STATES OF AMERICA,

Vv. > No. 17 Cr. 357 (LAB)

DAVID BLASZCZAK,
THEODORE HUBER,
ROBERT OLAN, and
CHRISTOPHER WORRALL,

Defendants.
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NOTICE OF UNOPPOSED MOTION FOR BALL PENDING APPEAL

PLEASE TAKE NOTICE that upen the accompanying memorandum of law, declaration
of Stephen Fishbein and the exhibits thereto, , Defendant Christopher Worrall, by and through
his counsel, will move this Court, before the Honorable Lewis A. Kaplan, United States District
Judge, at the United States Courthouse, 500 Pearl Street, New York, New York, at a time and
date to be set by the Court, for bail pending appeal, and for such other relief as this Court may

deem just and proper.

 

Dated: New York. New York Respectfully submitted,
April 9, 2021
/s/ Stephen Fishbein
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